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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 85-4544-DMG (AGRx)                                    Date     October 5, 2018

   Title Jenny L. Flores, et al. v. Jefferson B. Sessions, III, et al.                  Page     1 of 1

   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                NOT REPORTED
                Deputy Clerk                                              Court Reporter

      Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
               None Present                                                None Present

   Proceedings: IN CHAMBERS - ORDER SCHEDULING STATUS CONFERENCE
                REGARDING THE APPOINTMENT OF A SPECIAL
                MASTER/INDEPENDENT MONITOR

          The Court, having appointed Andrea Sheridan Ordin as Special Master/Independent
   Monitor (“the Monitor”) in this case, hereby schedules a status conference for Monday,
   October 15, 2018 at 10:00 a.m. The parties’ Counsel, the Monitor, and Juvenile Coordinators
   Henry A. Moak, Jr. and Deane Dougherty shall attend the status conference. The Court requests
   that Defendants serve a copy of this Order upon Mr. Moak and Ms. Dougherty in order to give
   them notice of the status conference.

   IT IS SO ORDERED.




   CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
